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              Exhibit
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        NO TICE TO RESI DENTS OF THE UNI TED STATES

        THE OFFER AND SALE OF THIS SECURITY INSTRUMENT HAS NOT BEEN REGISTERED
        UNDER THE U.S. SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”), OR
        UNDER THE SECURITIES LAWS OF CERTAIN STATES. THIS SECURITY MAY NOT BE
        OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED
        EXCEPT AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS
        PURSUANT TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION
        THEREFROM.

        NO TICE TO RESI DENTS OF C AN AD A

        THE SECURITIES MAY BE SOLD ONLY TO PURCHASERS PURCHASING, OR DEEMED TO
        BE PURCHASING, AS PRINCIPAL THAT ARE ACCREDITED INVESTORS, AS DEFINED IN
        NATIONAL INSTRUMENT 45-106 PROSPECTUS EXEMPTIONS OR SUBSECTION 73.3(1)
        OF THE SECURITIES ACT (ONTARIO), AND ARE PERMITTED CLIENTS, AS DEFINED IN
        NATIONAL INSTRUMENT 31-103 REGISTRATION REQUIREMENTS, EXEMPTIONS AND
        ONGOING REGISTRANT OBLIGATIONS. ANY RESALE OF THE SECURITIES MUST BE
        MADE IN ACCORDANCE WITH AN EXEMPTION FROM, OR IN A TRANSACTION NOT
        SUBJECT TO, THE PROSPECTUS REQUIREMENTS OF APPLICABLE SECURITIES LAWS.

        SECURITIES LEGISLATION IN CERTAIN PROVINCES OR TERRITORIES OF CANADA MAY
        PROVIDE A PURCHASER WITH REMEDIES FOR RESCISSION OR DAMAGES IF THIS
        OFFERING MEMORANDUM (INCLUDING ANY AMENDMENT THERETO) CONTAINS A
        MISREPRESENTATION, PROVIDED THAT THE REMEDIES FOR RESCISSION OR
        DAMAGES ARE EXERCISED BY THE PURCHASER WITHIN THE TIME LIMIT PRESCRIBED
        BY THE SECURITIES LEGISLATION OF THE PURCHASER’S PROVINCE OR TERRITORY.
        THE PURCHASER SHOULD REFER TO ANY APPLICABLE PROVISIONS OF THE
        SECURITIES LEGISLATION OF THE PURCHASER’S PROVINCE OR TERRITORY FOR
        PARTICULARS OF THESE RIGHTS OR CONSULT WITH A LEGAL ADVISOR.

        NO TICE TO RESI DENTS OF CHIN A

        THE RIGHTS ARE NOT BEING OFFERED OR SOLD AND MAY NOT BE OFFERED OR
        SOLD, DIRECTLY OR INDIRECTLY, WITHIN THE PEOPLE’S REPUBLIC OF CHINA (FOR
        SUCH PURPOSES, NOT INCLUDING THE HONG KONG AND MACAU SPECIAL
        ADMINISTRATIVE REGIONS OR TAIWAN), EXCEPT AS PERMITTED BY THE SECURITIES
        AND OTHER LAWS AND REGULATIONS OF THE PEOPLE’S REPUBLIC OF CHINA.

        NO TICE TO RESI DENTS OF THE UNI TED KINGDOM

        IN THE UNITED KINGDOM THIS DOCUMENT IS BEING DISTRIBUTED ONLY TO, AND IS
        DIRECTED ONLY AT (AND ANY INVESTMENT ACTIVITY TO WHICH IT RELATES WILL BE
        ENGAGED ONLY WITH): (i) INVESTMENT PROFESSIONALS (WITHIN THE MEANING OF
        ARTICLE 19(5) OF THE FINANCIAL SERVICES AND MARKETS ACT 2000 (FINANCIAL
        PROMOTION) ORDER 2005 AS AMENDED (THE ‘‘FPO’’)); (ii) PERSONS OR ENTITIES OF A
        KIND DESCRIBED IN ARTICLE 49 OF THE FPO; (iii) CERTIFIED SOPHISTICATED
        INVESTORS (WITHIN THE MEANING OF ARTICLE 50(1) OF THE FPO); AND (iv) OTHER
        PERSONS TO WHOM IT MAY OTHERWISE LAWFULLY BE COMMUNICATED (ALL SUCH
        PERSONS TOGETHER BEING REFERRED TO AS ‘‘RELEVANT PERSONS’’).



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        THIS DOCUMENT HAS NOT BEEN APPROVED BY AN AUTHORISED PERSON. ANY
        INVESTMENT TO WHICH THIS DOCUMENT RELATES IS AVAILABLE ONLY TO (AND ANY
        INVESTMENT ACTIVITY TO WHICH IT RELATES WILL BE ENGAGED ONLY WITH)
        RELEVANT PERSONS. THIS DOCUMENT IS DIRECTED ONLY AT RELEVANT PERSONS
        AND PERSONS WHO ARE NOT RELEVANT PERSONS SHOULD NOT TAKE ANY ACTION
        BASED UPON THIS DOCUMENT AND SHOULD NOT RELY ON IT. IT IS A CONDITION OF
        YOU RECEIVING AND RETAINING THIS DOCUMENT THAT YOU WARRANT TO THE
        COMPANY, ITS DIRECTORS, AND ITS OFFICERS THAT YOU ARE A RELEVANT PERSON.

                                   KIN, a product of KIK INTERACTIVE INC.
                                                     SAFT
                                   (Simple Agreement for Future Tokens)

        THIS CERTIFIES THAT in exchange for the payment by the undersigned purchaser (the
        “Purchaser”) of $«Our_Allocation» (the “Purchase Amount”) on or about June____, 2017, Kik
        Interactive Inc. a corporation organized under the laws of Canada (the “Company”), hereby
        issues to the Purchaser the right (the “Right”) to certain units of Kin (the “Token” or “Kin”),
        subject to the terms set forth below. All dollar ($) amounts set forth herein refer to United States
        dollars.

        1.     Events

               (a)      Network Launch. If there is a Network Launch before the expiration or
        termination of this instrument, the Company will issue to the Purchaser a number of units of the
        Token equal to the Purchase Amount divided by the Discount Price pursuant to the following
        schedule:

                       (i)     Fifty percent (50%) shall be issued as soon as practicable after the
        Network Launch provided that such issuance shall be no later than the date on which such units
        of Token are distributed to the public; and(ii) Fifty percent (50%) shall be issued on the one-year
        anniversary of the Network Launch.

        In connection with and prior to the issuance of Tokens by the Company to the Purchaser
        pursuant to this Section 1(a):

                      (ii)    The Purchaser will execute and deliver to the Company any and all other
        transaction documents related to this SAFT, including verification of accredited investor status
        or non-U.S. person status under the applicable securities laws; and

                       (iii)  The Purchaser will provide to the Company a network address for the
        allocation of Purchaser's Tokens after the Network Launch.

               (b)     Dissolution Event. If there is a Dissolution Event before this instrument expires
        or terminates, the Company will pay an amount equal to the Purchase Amount multiplied by the
        Discount Rate (the “Discounted Purchase Amount”), due and payable to the Purchaser
        immediately prior to, or concurrent with, the consummation of the Dissolution Event. If
        immediately prior to the consummation of the Dissolution Event, the assets of the Company that
        remain legally available for distribution to the Purchaser and all holders of all other SAFTs (the
        “Dissolving Purchasers”), as determined in good faith by the Company’s board of directors,
        are insufficient to permit the payment to the Dissolving Purchasers of their respective
        Discounted Purchase Amounts, then the remaining assets of the Company legally available for

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        distribution, will be distributed with equal priority and pro rata among the Dissolving Purchasers
        in proportion to the Discounted Purchase Amounts they would otherwise be entitled to receive
        pursuant to this Section 1(b). Any distributed amounts shall be in U.S. Dollars.

                (c)    Termination. This instrument will expire and terminate upon the earlier of (i)
        upon the Network Launch; (ii) the payment, or setting aside for payment, of amounts due the
        Purchaser pursuant to Section 1(b); (iii) September 30, 2017 (the “Deadline Date”), if the
        Network Launch has not occurred as of such date; provided that, the Company shall have the
        right to extend the Deadline Date by sixty (60) days, in its sole discretion; and (iv) the failure to
        obtain net proceeds of more than $25,000,000 from the sale of all rights pursuant to the SAFTs;
        provided, that in the case of (iv), the Company shall have the obligation to repay to the
        Purchasers the aggregate amount of all Purchase Amounts.

        2.     Definitions

                “Applicable Exchange Rate” means the volume-weighted average daily price of Ether
        in the 24-hour period (Eastern Time) following the day and time that the Company notifies the
        Purchaser, in writing, that the Company has accepted Purchaser’s offer to purchase the Right
        under this SAFT.

                “Discount Price” means the maximum price per Token sold by the Company to the
        public during the Network Launch multiplied by the Discount Rate.

               “Discount Rate” is 70%.

                “Dissolution Event” means (i) a voluntary termination of operations of the Company, (ii)
        a general assignment for the benefit of the Company’s creditors or (iii) any other liquidation,
        dissolution or winding up of the Company, whether voluntary or involuntary.

               “Network Launch” means a bona fide transaction or series of transactions, pursuant to
        which the Company will sell Kin to the general public in a publicized product launch of Kin
        through the instantiation of Kin via deployment on the Ethereum Blockchain.

                “SAFT” means an agreement containing a future right to units of Tokens purchased by
        the Purchasers, similar in form and content to this agreement. A significant portion of the
        amount raised under the SAFTs will be used to fund the Company’s build-out of a semi-
        centralized blockchain-based computer network (the “Kin Ecosystem”) that enables economic
        transactions and a reward system for digital service providers as well as to develop an
        application to make the network accessible via the Kik messaging platform.

        3.     Company Representations

                (a)     The Company is a corporation duly organized, validly existing and in good
        standing under the laws of Canada, and has the power and authority to own, lease and operate
        its properties and carry on its business as now conducted.

                (b)     The execution, delivery and performance by the Company of this instrument is
        within the power of the Company and, other than with respect to the actions to be taken when
        Tokens are to be issued to the Purchaser, has been duly authorized by all necessary actions on
        the part of the Company. This instrument constitutes a legal, valid and binding obligation of the
        Company, enforceable against the Company in accordance with its terms, except as limited by


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        bankruptcy, insolvency or other laws of general application relating to or affecting the
        enforcement of creditors’ rights generally and general principles of equity. To the knowledge of
        the Company, it is not in violation of (i) its current articles of incorporation or bylaws, (ii) any
        material statute, rule or regulation applicable to the Company, or (iii) any material indenture or
        contract to which the Company is a party or by which it is bound, where, in each case, such
        violation or default, individually, or together with all such violations or defaults, could reasonably
        be expected to have a material adverse effect on the Company.

                 (c)      To the knowledge of the Company, the performance and consummation of the
        transactions contemplated by this instrument do not and will not: (i) violate any material
        judgment, statute, rule or regulation applicable to the Company; (ii) result in the acceleration of
        any material indenture or contract to which the Company is a party or by which it is bound; or
        (iii) result in the creation or imposition of any lien upon any property, asset or revenue of the
        Company or the suspension, forfeiture, or nonrenewal of any material permit, license or
        authorization applicable to the Company, its business or operations.

                 (d)    No consents or approvals are required in connection with the performance of this
        instrument, other than: (i) the Company’s corporate approvals; and (ii) any qualifications or
        filings under applicable securities laws.

               (e)     To its knowledge, the Company owns or possesses (or can obtain on
        commercially reasonable terms) sufficient legal rights to all patents, trademarks, service marks,
        trade names, copyrights, trade secrets, licenses, information, processes and other intellectual
        property rights necessary for its business as now conducted and as currently proposed to be
        conducted, without an infringement of the rights of others. Kin is not a proprietary trade name of
        the Company.

        4.     Purchaser Representations

                (a)    The Purchaser has full legal capacity, power and authority to execute and deliver
        this instrument and to perform its obligations hereunder. This instrument constitutes valid and
        binding obligation of the Purchaser, enforceable in accordance with its terms, except as limited
        by bankruptcy, insolvency or other laws of general application relating to or affecting the
        enforcement of creditors’ rights generally and general principles of equity.

                (b)     The Purchaser has been advised that the Right created by this instrument is a
        security and that the offers and sales of this Right have not been registered under any country’s
        securities laws and, therefore, cannot be resold except in compliance with the applicable
        country’s laws. The Purchaser is purchasing this instrument for its own account for investment,
        not as a nominee or agent, and not with a view to, or for resale in connection with, the
        distribution thereof, and the Purchaser has no present intention of selling, granting any
        participation in, or otherwise distributing the same. The Purchaser has such knowledge and
        experience in financial and business matters that the Purchaser is capable of evaluating the
        merits and risks of such investment, is able to incur a complete loss of such investment without
        impairing the Purchaser’s financial condition and is able to bear the economic risk of such
        investment for an indefinite period of time.

                (c)     The Purchaser enters into this SAFT with the expectation that he, she or it, as
        the case may be, will profit upon the successful development and Network Launch arising from
        the efforts of Kik and its employees to develop and market the Kin Ecosystem and the Token
        Sale.

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        5.     Procedures for Purchase of Rights and Valuation of Purchase Amount.

                (a)    The Company will accept payment for the Right purchased under this SAFT in
        U.S. Dollars. Purchaser shall make the required payment to the Company in consideration for
        Purchaser’s purchase of the Right pursuant to the SAFT through the procedures set forth on
        Exhibit A hereof.

             (b)     For purposes of this instrument, the value of the Purchase Amount shall be
        deemed in Ether, valued at the Applicable Exchange Rate for Ether.

        6.     Miscellaneous

                (a)     This instrument sets forth the entire agreement and understanding of the parties
        relating to the subject matter herein and supersedes all prior or contemporaneous disclosures,
        discussions, understandings and agreements, whether oral of written, between them. This
        instrument is one of a series of similar instruments entered into by the Company from time to
        time. Any provision of this instrument may be amended, waived or modified only upon the
        written consent of the Company and the holders of a majority, in the aggregate, of the Purchase
        Amounts paid to the Company with respect to all SAFTs outstanding at the time of such
        amendment, waiver or modification.

               (b)    Any notice required or permitted by this instrument will be deemed sufficient
        when sent by email to the relevant address listed on the signature page, as subsequently
        modified by written notice received by the appropriate party.

               (c)     The Purchaser is not entitled, as a holder of this instrument, to vote or receive
        dividends or be deemed the holder of capital stock of the Company for any purpose, nor will
        anything contained herein be construed to confer on the Purchaser, as such, any of the rights of
        a stockholder of the Company or any right to vote for the election of directors or upon any
        matter submitted to stockholders at any meeting thereof, or to give or withhold consent to any
        corporate action or to receive notice of meetings, or to receive subscription rights or otherwise.

                 (d)    Neither this instrument nor the rights contained herein may be assigned, by
        operation of law or otherwise, by either party without the prior written consent of the other;
        provided, however, that this instrument and/or the rights contained herein may be assigned
        without the Company’s consent by the Purchaser to any other entity who directly or indirectly,
        controls, is controlled by or is under common control with the Purchaser, including, without
        limitation, any general partner, managing member, officer or director of the Purchaser, or any
        venture capital fund now or hereafter existing which is controlled by one or more general
        partners or managing members of, or shares the same management company with, the
        Purchaser; and provided, further, that the Company may assign this instrument in whole,
        without the consent of the Purchaser, in connection with a reincorporation to change the
        Company’s domicile. (e) In the event any one or more of the provisions of this instrument is for
        any reason held to be invalid, illegal or unenforceable, in whole or in part or in any respect, or in
        the event that any one or more of the provisions of this instrument operate or would
        prospectively operate to invalidate this instrument, then and in any such event, such provision(s)
        only will be deemed null and void and will not affect any other provision of this instrument and
        the remaining provisions of this instrument will remain operative and in full force and effect and
        will not be affected, prejudiced, or disturbed thereby.




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               (e)     All rights and obligations hereunder will be governed by the laws of Canada,
        without regard to the conflicts of law provisions of such jurisdiction.

                                         (Signature page follows)




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        IN WITNESS WHEREOF, the undersigned have caused this instrument to be duly executed
        and delivered.

        Kik Interactive Inc.

        By:
                 Ted Livingston
                 Chief Executive Officer

        Address: 420 Weber Street North, Suite 1
                 Waterloo, Ontario, N2L 4E7 Canada

        Email:     ted@kik.com

                                                         PURCHASER:


                                                         «PURCHASER»



                                                         By:

                                                         Name: «Signatory»

                                                         Title:

                                                         Email: «Email»
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